Case 1:12-cr-00033-JLK Document 1910 Filed 06/28/18 USDC Colorado Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-cr-00033-JLK-2

UNITED STATES OF AMERICA,
Plaintiff,

v.

2. BAKHTIYOR JUMAEV,
Defendant.
________________________________________________________________

              DEFENDANT BAKHTIYOR JUMAEV’S OBJECTIONS
              TO THE PRE-SENTENCE INVESTIGATION REPORT
                        (RELATED TO DOC. 1885)



         The defendant, Bakhtiyor Jumaev, by and through his attorneys, submits

the following objections to the Pre-Sentence Investigation Report (“PSR”) (Doc.

1885):


      1. ERROR: The PSR’s reliance on the Government’s version of the

relevant facts, as discussed in The Offense Conduct, ¶¶ 7-25 of the PSR, is

misplaced.

      CORRECTION/EXPLANATION: Mr. Jumaev believes the Government’s

recitation is too restrictive, engages in an unwarranted presumption of the

evidence that led to the jury’s verdicts, and omits relevant facts. Those omitted

facts are relied upon and described in Mr. Jumaev’s Sentencing Statement and

Motion for Variant Sentence (Doc. 1908) and contained at pages 3 thru 7, which

                                         1
Case 1:12-cr-00033-JLK Document 1910 Filed 06/28/18 USDC Colorado Page 2 of 5




are incorporated herein.


      2. ERROR: The PSR’s reliance on the Government’s argument regarding

the applicability of the Adjustment for Obstruction of Justice, at ¶¶ 27-28, is

qualified by its deferring to the Court for its analysis. That adjustment, however,

does not apply.

      CORRECTION: The Gvt SS at 11, and the PSR at ¶¶ 38-39, albeit more

tepidly, argue for an upward adjustment of 2 levels for obstruction of justice

under USSG §3C1.1. The argument is based on the view that Mr. Jumaev lied

during trial when he testified that the $300 he sent Mr. Muhtorov was a partial

repayment of the debt he owed the latter for his financial contribution a year

earlier towards Mr. Jumaev’s immigration bond.


      Mr. Jumaev relies upon and addresses this adjustment in his Sentencing

Statement and Motion for Variant Sentence (Doc. 1908) at pages 16 thru 17,

which are incorporated herein.


      3. ERROR: The PSR at ¶¶ 35-36, asserts that USSG §3A1.4 applies to

this case, but Mr. Jumaev disagrees.


      CORRECTION/EXPLANATION: Mr. Jumaev relies upon and discusses

the reasons why §3A1.4 is inapplicable to this case in his Sentencing Statement

and Motion for Variant Sentence (Doc. 1908) at pages 9 thru 15 and 28 thru 30,

which are incorporated herein.


                                          2
Case 1:12-cr-00033-JLK Document 1910 Filed 06/28/18 USDC Colorado Page 3 of 5




          3. ERROR: The PSR’s Offense Level Computation, at ¶¶ 34-43, is

faulty.

          CORRECTION: The Court should reject §3A1.4 as applicable to the facts

of this case and instead focus its analysis upon USSG § 2M5.3 and the relevant

adjustments.      Mr. Jumaev’s calculation of the advisory guidelines ranges in

described in Doc. 1908 at pages 21 thru 23 is the correct calculation and are

incorporated herein.


          4. ERROR: The PSR’s Criminal History Computation, at ¶ 48, places

Mr. Jumaev in CHC VI based on the provisions of USSG § 3A1.4.


          CORRECTION: As argued at incorporated pages 23-24 of Doc. 1908 and

in these objections, ascribing CHC VI to Mr. Jumaev is unreasonable and

arbitrary. Moreover, if reliable information indicates that the defendant’s criminal

history category substantially over-represents the seriousness of the defendant’s

criminal history or the likelihood that the defendant will commit other crimes, a

downward departure may be warranted. §4A1.3(b).


          Except for the enhancement contained in §3A1.4, which have nothing to

do with the calculations customarily attributed to an individual’s criminal history

category, Mr. Jumaev would fall within CHC I since zero points would be

assigned to him. The PSR at ¶¶ 46, 47, and 106 is in accord.


          5. ERROR: The PSR at ¶ 60 states that Mr. Jumaev had not seen his son


                                         3
Case 1:12-cr-00033-JLK Document 1910 Filed 06/28/18 USDC Colorado Page 4 of 5




Davlat physically since leaving Uzbekistan.


          CORRECTION: Mr. Jumaev had not seen his son Davlat physically since

Davlat left Uzbekistan. Mr. Jumaev had seen Davlat physically via Skype from

the time Mr. Jumaev entered the United States in 2000 until shortly before his

arrest on March 15, 2012. Mr. Jumaev had not seen Davlat since and until Davlat

testified in this case. Between March 15, 2012 and when he testified, Davlat had

left Uzbekkistan.


          6. ERROR: The PSR at R-3, the 7th line from the top, states, in applicable

part, that Mr. Muhtorov “was planning to join the effort in Syria to wage violent

jihad.”


          CORRECTION: Mr. Jumaev is unaware of any evidence and had no

knowledge that Mr.Muhtorov was planning to join the effort in Syria.


          Based on the above, Mr. Jumaev requests that his objections be sustained

and for further relief as the Court may deem proper.


          DATED: June 28, 2018.

                                        Respectfully submitted,

                                        /s/ David Barry Savitz
                                        David Barry Savitz
                                        Law Office of David B. Savitz
                                        1512 Larimer Street, Suite 600
                                        Denver, CO 80202
                                        Telephone: (303) 825-3109
                                        savmaster@aol.com

                                           4
Case 1:12-cr-00033-JLK Document 1910 Filed 06/28/18 USDC Colorado Page 5 of 5




                                      /s/ Mitchell Baker
                                      Mitchell Baker
                                      Attorney at Law
                                      1543 Champa Street, #400
                                      Denver, CO 80202
                                      Telephone: (303) 592-7353
                                      mitchbaker@estreet.com
                                      Attorneys for Bakhtiyor Jumaev




                          CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to counsel of record.

                                                   /s/ Pat Austin
                                                   Pat Austin




                                         5
